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                   14
                                                           UNITED STATES DISTRICT COURT
                   15
                                                    NORTHERN DISTRICT OF CALIFORNIA
                   16

                   17
                           DAVID MILLETTE, and RUSLANA                      Case No. 5:24-cv-05157-EJD
                   18      PETRYAZHNA, individually and on behalf of
                           all others similarly situated                    The Honorable Edward J. Davila
                   19
                                             Plaintiffs,                    JOINT STIPULATION TO EXTEND
                   20
                                                                            DEFENDANT’S RESPONSE DEADLINE
                                  v.                                        AND TO SET BRIEFING SCHEDULE
                   21

                   22                                                       [LOCAL RULES 6-1(B)]
                           NVIDIA CORPORATION,
                   23                                                       FAC Filed:               December 16, 2024
                                             Defendant.                     Current Response Date:   December 30, 2024
                   24                                                       New Response Date:       February 10, 2025

                   25                                                       Current Opposition Date: January 13, 2025
                                                                            New Opposition Date:     March 24, 2025
                   26
                                                                            Current Reply Date:      January 20, 2025
                   27                                                       New Reply Date:          April 14, 2025

                   28                                                       Hearing date:            May 15, 2025
H OGAN L OVEL LS US
       LLP                     JOINT STIPULATION TO EXTEND DEFENDANT’S RESPONSE DEADLINE AND TO SET BRIEFING
  ATTO RNEY S AT LAW                                              SCHEDULE
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                       1                                         JOINT STIPULATION
                       2          Pursuant to Local Rule 6-1 and 6-2, Plaintiffs David Millette and Ruslana Petryazhna
                       3   (“Plaintiffs”) and Defendant NVIDIA Corporation (“Defendant”) (collectively, the “Parties”), by
                       4   and through their respective counsel of record, enter into this Joint Stipulation with reference to the
                       5   following:
                       6          WHEREAS, Defendant filed their Motion to Dismiss Plaintiff Millette’s Complaint on
                       7          November 4, 2024. See ECF No. 26;
                       8           WHEREAS, pursuant to Defendant and Plaintiff Millette’s Joint Stipulation, see ECF No.
                       9          19, and order of this Court, see ECF No. 20, Plaintiff Millette’s Opposition to Defendant’s
                   10             Motion to Dismiss was due on December 16, 2024, and Defendant’s Reply to Plaintiff
                   11             Millette’s Opposition was due on January 16, 2025;
                   12             WHEREAS, Plaintiffs filed a First Amended Complaint (“FAC”) in this Action on
                   13      December 16, 2024, adding Ruslana Petryazhna as a representative plaintiff. See ECF No. 28;
                   14             WHEREAS, Defendant’s deadline to answer, move, or otherwise respond to the FAC is
                   15      December 30, 2024, pursuant to the Federal Rules of Civil Procedure Rule 15(a)(3);
                   16             WHEREAS, Defendant intends to file a motion to dismiss Plaintiffs’ FAC;
                   17             WHEREAS, the Parties met and conferred and agreed to extend Defendant’s deadline to
                   18      answer, move, or otherwise respond to the FAC from December 30, 2024 to February 10, 2025;
                   19             WHEREAS, the Parties have also agreed to enter into a briefing and hearing schedule on
                   20      Defendant’s responsive motion, subject to the Court’s approval. Specifically, Plaintiffs shall file
                   21      their opposition to Defendant’s motion on March 24, 2025; Defendant shall file its reply on April
                   22      14, 2025; and the hearing shall occur on May 15, 2025.
                   23             WHEREAS, the Parties’ request for an extension of Defendant’s response deadline and
                   24      briefing schedule is not made for the purpose of delay. Instead, these adjustments to the calendar
                   25      will align with the briefing schedule of the related-parties Google LLC and YouTube Inc., and work
                   26      to preserve the resources of the Parties and, more importantly, the Court.
                   27             WHEREAS extending the deadlines as requested above would require moving the hearing
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H OGAN L OVEL LS US
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                              JOINT STIPULATION TO EXTEND DEFENDANT’S RESPONSE DEADLINE AND TO SET BRIEFING
                                                                 SCHEDULE
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                       1   on the Motion to Dismiss, which is currently set for February 13, 2025, see ECF No. 26, and the
                       2   Case Management Conference, which is also currently set for February 13, 2025, see ECF No. 22;
                       3            NOW, THEREFORE, BY AND THROUGH THEIR COUNSEL OF RECORD AND
                       4   SUBJECT TO THE APPROVAL OF THE COURT, THE PARTIES STIPULATE AND
                       5   JOINTLY REQUEST THAT the Court grant the Parties’ requested extension of Defendant’s
                       6   response deadline and briefing schedule on Defendant’s Motion as follows:
                       7               Defendant’s deadline to file a Motion to Dismiss the First Amended Complaint be
                       8                moved from December 30, 2024 to February 10, 2025;
                       9               Plaintiffs’ deadline to file an Opposition to Defendant’s Motion to Dismiss will be
                      10                March 24, 2025;
                      11               Defendant’s deadline to file a Reply to Plaintiffs’ Opposition to Defendant’s Motion to
                      12                Dismiss will be April 14, 2025;
                      13               The hearing on Defendants’ Motion to Dismiss is set for May 15, 2025; and
                      14               Discovery is stayed while Defendant’s anticipated Motion to Dismiss the First Amended
                      15                Complaint is pending.
                      16   SO STIPULATED.
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                       1   Dated: December 27, 2024
                       2
                                                              By: /s/ Vassi Iliadis
                       3
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                           Case 5:24-cv-05157-EJD       Document 29       Filed 12/27/24    Page 5 of 6



                       1   Dated:   December 27, 2024
                       2
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                       3
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                       1                                             ATTESTATION
                       2             I am the ECF User whose identification and password are being used to file the foregoing
                       3   Stipulation Regarding Extension Of Time To Respond To The First Amended Complaint. Pursuant
                       4   to Local Rule 5-1(i)(3) regarding signatures, I, Vassi Iliadis, attest that concurrence in the filing of
                       5   this document has been obtained.
                       6
                            Dated:       December 27, 2024
                       7

                       8                                                 By: /s/ Vassi Iliadis
                                                                             Vassi Iliadis
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